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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

JANET GRAVES, surviving widow and       )
next of kin of NATHAN GRAVES,           )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )     Case No. CIV-19-60-SLP
                                        )
PENNSYLVANIA MANUFACTURERS’             )
INDEMNITY CO., and AMERICAN             )
CLAIMS MANAGEMENT, INC.,                )
                                        )
     Defendants.                        )

              COURT’S SUPPLEMENTAL JURY INSTRUCTIONS
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                                  INSTRUCTION NO. 1

             EXEMPLARY OR PUNITIVE DAMAGES – SECOND STAGE

       Ladies and Gentlemen of the jury, you have found in favor of Plaintiff, Janet Graves,

surviving widow and next of kin of Nathan Graves, and granted her actual damages, and

you have also found by a separate verdict that Defendants Pennsylvania Manufacturers’

Indemnity Co. and American Claims Management, Inc., have recklessly disregarded their

duty to deal fairly and act in good faith with Plaintiff.

       You may now, in addition to actual damages, grant Plaintiff punitive damages in

such sum as you reasonably believe will punish Defendants and be an example to others.

       Punitive damages are not to be considered as compensation to Plaintiff, but as

punishment to Defendants and as an example to others to deter them from like conduct.

The law does not require you to award punitive damages, and if you do so, you must use

sound reason in setting the amount. You should be aware that the purpose of punitive

damages is to punish and not destroy a defendant. In determining the amount of punitive

damages, you may consider the following factors:

       1.       The seriousness of the hazard to the public arising from Defendants’
                misconduct;

       2.       The profitability of the misconduct to Defendants;

       3.       How long the conduct lasted and whether it is likely to continue;

       4.       Whether there were attempts to conceal the misconduct;

       5.       How aware Defendants were of the conduct and its consequences and how
                aware Defendants were of the hazard and of its excessiveness;



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      6.     The attitude and conduct of Defendants upon finding out about the
misconduct or hazard;

      7.       The financial condition of Defendants; and

      8.       The number and level of employees involved in causing or concealing the
               misconduct.

      In no event should the punitive damages exceed the amount of actual damages

($350,000.00) you have previously awarded.

      Dated this 8th day of November, 2019.




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